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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES ‐‐ GENERAL

Case No.     CV 09‐5740‐VBF(CWx)                                        Dated: September 21, 2009

Title:       Nexgen Metals, Inc. ‐v‐ Depot Metals, LP, et al.

PRESENT:     HONORABLE VALERIE BAKER FAIRBANK, UNITED STATES DISTRICT JUDGE

             Rita Sanchez                              Rosalyn Adams
             Courtroom Deputy                          Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:

             Robert J. Hatem                           Jerrold Abeles
             Jaston T. Yu




PROCEEDINGS:        HEARING ON DEFENDANTSʹ MOTION TO DISMISS [Doc. 9]



       Case called, and counsel make their appearances.  The Court hears arguments from counsel
for both sides in response to the Courtʹs Tentative Ruling (Doc. 23) on Defendantsʹ Motion to
Dismiss (Doc. 9), and takes the Motion under submission.  

       After further consideration of the papers filed and the counselʹs oral argument, the
Tentative Ruling will be the Order of the Court.  The Tentative Ruling is incorporated in full
herein. 

      At the hearing and in its opposition papers, Plaintiff asserts that additional discovery
regarding Defendants’ contacts with California is necessary prior to a ruling on the Motion to

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Dismiss.  See See Reporter’s Notes of 9/21/09 Hearing & Plaintiff’s Opposition; see also Doc. 23 at 4.
Plaintiff offers insufficient factual support or legal authority for this position, however.  See Doc. 23
at 4. 

       As set forth in the Courtʹs Tentative Ruling, the Defendantsʹ contacts with California are
insufficient to establish general jurisdiction over these Defendants.  Id. Depot Metals is not
authorized to do business in California, nor is it registered with the California Secretary of State. 
Defendants do not have a business office or any employees in California, nor do any employees
visit California regularly as part of their job.  Depot Metals does not advertise its services or
products in written publications, on the radio, or on cable and/or television.  Depot Metalsʹ website
provides information about the company and its inventory, and is accessible to California
residents, but customers may not place orders via the website.  Id. Depot Metals does not direct
advertising or marketing to customers in California, and the company’s California sales were
solely a result of customers initiating contact with Depot Metals.  Id.  

       Plaintiff does not dispute these facts.  However, Plaintiff questions Defendantsʹ assertion
that California sales account for less than 2% of total revenues.  Plaintiff provides insufficient
authority or support for its request that on these facts, additional discovery is warranted.  Id.
Instead, Plaintiff ʺoffers only speculation or conclusory assertions” about the Defendants’ potential
contacts with California. See Carefirst of Maryland, Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390,
402‐403 (4th Cir. 2003)(where a plaintiff offers only speculation or “conclusory assertions about [a
defendant’s] contacts with a forum state . . .  a court is within its discretion in denying
jurisdictional discovery”). Plaintiff here fails to make a “colorable or prima facie showing of
personal jurisdiction” over these Defendants, and, therefore, fails to show that jurisdictional
discovery is warranted. Central States, Southeast & Southwest Areas Pension Fund v. Reimer Express
World Corp., 230 F.3d 934, 946 (7th Cir. 2000). 

       For the reasons set forth in Defendantsʹ moving papers, as well as the Courtʹs Tentative
Ruling, Defendantsʹ Motion to Dismiss is GRANTED, as the Court lacks jurisdiction over
Defendants Depot Metals, Bill Tresten and Joe Tresten.  As a dismissal for lack of personal
jurisdiction is not a ruling on the merits, the Motion is granted without prejudice to Plaintiff’s right
to seek relief in an appropriate forum, i.e., where the Defendants are subject to personal
jurisdiction. 

       IT IS SO ORDERED.     




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